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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                      May 5, 2021

Michelle M. Sweet, Esq.                        Steven R. Kiersh, Esq.
Federal Public Defender                        Law Office of Steven R. Kiersh
District of Oregon                             5335 Wisconsin Avenue, NW, Suite 440
101 SW Main Street, Suite 1700                 Washington, D.C. 20015
Portland, OR 97204

       Re:      United States v. Jonathanpeter Allen Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

       The government has prepared a significant batch of preliminary discovery in this case
which will be tendered to you through the DOJ’s USAfx file sharing system. These materials
contain the items identified in Attachment A to this letter.

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

        Please contact me if you have any issues accessing the information, and to confer regarding
pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case. Please note,
none of the materials described in Attachment A are considered Sensitive or Highly Sensitive for
the purposes of the Protective Order, at this time. However, the government reserves the right to
change this designation to the extent an item’s sensitivity was not properly categorized in this
preliminary discovery.
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        I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

         I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant provide the government with the appropriate written notice if defendant(s)
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      s/ Christopher K. Veatch
                                                      CHRISTOPHER K. VEATCH
                                                      Assistant United States Attorney




Attachment


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